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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


UNITED STATES OF AMERICA,

                    Plaintiff,

           v.                                     Case No. 19 CR 565

EDWARD LEE FILER, ROBERT                        Judge Harry D. Leinenweber
JOSEPH GEREG, and PAUL MICHAEL
KELLY,

                 Defendants.


                     MEMORANDUM OPINION AND ORDER
                                 I. BACKGROUND
     The Defendant, Edward Lee Filer (“Filer”), along with two

others,   was    indicted   by   the   Government     in   a   21-count    Second

Superseding Indictment (the “Indictment”) with 12 joint counts of

wire and bankruptcy fraud (Indict., Counts 1–7, 9–11, 13–14, Dkt.

No. 64), an individual count of bankruptcy fraud (id., Count 8), and

a single count of making a false statement under penalty of perjury.

(Id., Count 15). The Indictment alleges in 123 paragraphs a litany

of acts taken in an attempt to prevent liquidation of a failing

business, at the expense of the firm’s creditors. The acts taken

together are described in the Indictment as a scheme to defraud

creditors of the firm. The Defendants in the case are Filer, the

lawyer; Paul Michael Kelly (“Kelly”), the owner of Barsanti Woodwork

Corporation     (“Woodwork”);    and   Robert    Joseph    Gereg   (“Gereg”),      a

financial consultant retained by Woodwork. Both Kelly and Gereg pled
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guilty to tax crimes prior to trial, and the Government moved to

dismiss       certain    counts.   The    Court,       at   the    conclusion   of    the

Government’s case and at the conclusion of the trial dismissed all

but two counts charging Filer with wire fraud. The jury found Filer

guilty of these two counts. Filer now moves for a judgment of

acquittal or, in the alternative, a new trial.

        The   facts     that   follow    are   drawn     from     trial   testimony   and

exhibits. The story begins with a conversation between the spouses

of Filer and Kelly—spouses who were friends and neighbors. Kelly’s

wife asked Filer’s wife to ask her husband, an attorney, if he could

possibly      help    her   husband     salvage    his      carpentry     business.   The

business, Woodwork, was ailing as a result of the real estate

recession. Being a good Samaritan, Filer acceded to his wife’s

request and agreed to see if he could help.

        It turned out that Woodwork was indeed in dire straits. The

firm,    which    performs      major    carpentry      work      for   businesses,   was

delinquent on its loan with Harris Bank, its major financer. The

loan balance at the time was approximately $1,100,000 which was

secured by all of Woodwork’s assets, including accounts receivables

and equipment. By the time Filer was brought in, Harris had filed a

state court action for appointment of a receiver to take possession

of and liquidate the business. The bank had also swept Woodwork’s

account at Harris and seized all the firm’s cash on deposit. Finally,

Harris had sent demand letters to all Woodwork’s customers advising

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them of Harris’ lien and instructing them to pay any receivables

directly    to   the    bank.   Filer   also    discovered    that    Woodwork    was

delinquent in payments of pension and benefit funds due to the

Chicago Regional Council of Carpenters’ Union (the “Union”), in

unpaid income taxes due the to IRS and the State of Illinois

Department of Revenue, and to Woodwork’s vendors.

       The situation facing Filer was indeed unpromising. Obviously

the first problem to address was the Harris Bank delinquency. The

debt to Harris far exceeded Woodwork’s cash on hand. If Harris was

not placated, the business was going to be liquidated, end of story.

The death of the business would also have consequences for Woodwork’s

remaining    creditors.     According     to    Harris’     High    Risk/Impairment

Report (the “Report”), Woodwork’s liquidation value would not come

close to satisfying Harris’ loan balance. With Woodwork out of

business there would be no assets available for any other creditor.

       Filer’s   initial    efforts     on     Woodwork’s    behalf    focused     on

identifying a lender who would lend Woodwork enough money to settle

with    Harris    and    stave    off    liquidation.       These    efforts     were

unsuccessful. Filer knew that it was Harris’ policy to refuse to

negotiate a lower payment with defaulting borrowers because it was

viewed as bad precedent and could lead other borrowers to seek loan

reductions. To be sure, this strategy had been attempted by Kelly’s

previous attorney. At that time Harris rejected offers to settle the

debt at less than face value by putting together Woodwork receivables

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and some money from Kelly’s family. For this avenue to be available,

it was necessary to identify a third-party that could negotiate with

Harris.

     Running out of time, Filer’s next move was to follow up on a

suggestion from Signature Bank that Woodwork contact Gereg whose

specialty was corporate finance. The contact resulted in Woodwork

hiring Gereg to obtain financing and negotiate a settlement with

Harris in return for a fee. After failing to obtain financing, Gereg

suggested that a settlement with Harris might be obtained if a new

entity was created to negotiate directly with Harris. This met with

Filer’s approval and BWC Holdings LLC (“Holdings”) was created with

Kelly as its sole member. Gereg was given authority to act on

Holding’s behalf.

     Gereg commenced negotiating with James Sullivan (“Sullivan”),

Harris’ outside counsel. Gereg described himself to Sullivan as an

“angel investor” working on Woodwork’s behalf. The two proceeded to

negotiate a settlement, whereby Harris, in return for the payment of

$575,000,   paid   within   30   days,    would   assign    the   Woodwork    loan

agreement and lien to Holdings. Gereg was negotiating from a position

of strength. Harris had been unable to obtain payments from any of

Woodwork’s customers because Kelly had been uncooperative. Many of

the receivables were due from jobs which had not been completed and

Kelly was refusing to issue lien waivers on any of them. Harris had



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been so unsuccessful in recovering receivables that its Report listed

the receivables as practically worthless.

       Gereg was able to negotiate a reduction of the loan payoff

amount from $1,100,000 to $575,000, provided the amount was paid to

Harris within 30 days. Gereg also assured Sullivan that Kelly would

be cooperative in the recovery of the receivables and that Kelly

would not abscond with the customer payments. The agreement provided

that Harris would accept payments directly from customer accounts.

Sullivan and Harris were aware that most, if not all the payoff

amount was to come from the Woodwork receivables, with Holdings being

responsible for any shortfall. Harris also agreed that it would

accept in payment checks drawn on the customer’s accounts.

       A problem arose when Harris was insisted that the settlement be

an    arms-length     transaction     without     Kelly’s    involvement.     Harris

demanded proof that Gereg was a member of Holdings and had authority

to execute the agreement on Holdings’ behalf. But Kelly, not Gereg,

was the sole member of Holdings. To solve this problem, Filer created

BWC Capital LLC (“Capital”), with Gereg as its sole member. A

corporate resolution was then adopted granting Gereg authority to

execute the agreement with Harris.

       While necessary to consummate the Harris transaction, giving

Gereg exclusive ownership of Capital was a concern for Filer. Gereg

could go “rogue” and, once the transaction was completed, Capital

might refuse to transfer ownership of the Woodwork loan and lien to

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Kelly’s control. As a remedy Filer proposed the creation of a trust

that Kelly would control which would hold the membership in Capital.

Filer created the trust documents and an assignment for Gereg to

execute and assign his membership in Capital to the Kelly Family

Trust. This arrangement would protect Kelly without disclosing his

proposed ownership interest in Capital to Harris. Although Gereg

dutifully executed the assignment, the trust agreement was never

executed by Kelly and the Kelly Family Trust was never created.

Consequently, on paper Gereg still held the sole membership in

Capital.

     The   agreement     between    Harris    and    Capital    was   thereafter

executed by Gereg on behalf of Capital and a Harris Vice-President

on behalf of Harris. At the closing Harris delivered the assignment

of the Woodwork loan agreement and lien to Capital, and Capital

turned over $575,000 to Harris in the form of $572,760.52 in customer

payments and the balance of $2,239.48 by a personal check from Kelly.

It is undisputed that Harris was aware that all the funds came from

Woodwork and Kelly and none from either Capital or Gereg. Nothing in

the agreement required that any of the purchase amount come from

Capital or Gereg. In addition, there was nothing in the agreement to

prevent Capital from transferring the Woodwork loan and lien to any

other entity at any time after the transaction was closed, including

Kelly himself.



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      Having taken care of Harris, Filer next turned to placating the

Union, which had obtained an $18,000 judgment against Woodwork for

past due premiums. The Union had sent citations to discover assets

to all of Woodwork’s customers, which again prevented Woodwork from

receiving any customer payments. To remedy this problem Woodwork

satisfied the judgment which released the citation holds and allowed

Woodwork to recommence operations.

      The Union, however, was about to present Woodwork with a much

larger problem. The Union had filed another suit against Woodwork

for   current     arrearages       for    unpaid   premiums       which    totaled     over

$200,000. If and when the Union was successful in obtaining such a

judgment,    it    would    likely       again   serve     citations      on    Woodwork’s

customers. Because Woodwork did not have the wherewithal to satisfy

such a judgment these citations would again shut down Woodwork’s

business.

      To meet this complication Filer suggested that Capital enforce

its superior lien on Woodwork’s assets. To accomplish this, Capital

would need to reduce the Harris loan to judgment prior to the Union

obtaining judgment. Once perfected, Capital’s secured interest in

Woodwork’s      assets     would    be    superior    to    the     Union’s      unsecured

judgment.    The    Harris    loan       agreement,      however,    did       not   have   a

confession of judgment clause, which would allow for an immediate

judgment. So, Filer decided to have Capital and Woodwork amend the

Harris loan agreement to include such a clause. Because time was of

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the essence, the amendment was backdated and Capital immediately

filed suit against Woodwork over the defaulted loan, the judgment

was confessed, and judgment was entered against Woodwork in the

amount of $1,100,000. The amount of the judgment was erroneous

because Capital failed to credit Woodwork with the $575,000 paid to

Harris. After the judgment was entered, Capital commenced a citation

proceeding and obtained a court order transferring all of Woodwork’s

assets to Capital. Kelly and Gereg intended temporarily to operate

the carpentry business through Capital and later return the assets

to Woodwork. At that time Gereg and Kelly were negotiating with

Turner Construction Company for a $2 million dollar contract which,

if obtained, could allow Kelly to satisfy the remainder of Woodwork’s

debts and make the company viable again.

     Unfortunately, a new problem arose. Due to unpaid state income

taxes,   the   Illinois   Secretary     of   State   had   revoked    Woodwork’s

charter. Filer attempted to work out a payment schedule to reinstate

Woodwork. But the State of Illinois would not reinstate Woodwork’s

charter unless the tax deficiency was paid in full—an impossibility

under Woodwork’s then financial situation.              To meet this problem,

Filer created a new entity, Barsanti Millwork LLC (“Millwork”) with

Gereg was its sole member. Capital then assigned Woodwork’s assets

to Millwork.

     Shortly after creating Millwork, Filer, on the recommendation

of another partner at his firm, placed Woodwork into bankruptcy. The

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expressed reason for this was a belief that the legality of the

proceeding      activities    could     be    more    quickly    resolved       in   one

proceeding in one court. However, the bankruptcy proceeding created

a host of new problems for Filer and his client. The bankruptcy

filing resulted in the appointment of a bankruptcy trustee with the

power to engage in discovery without the protection of the attorney-

client privilege.

        After the transfer of assets, Millwork attempted to run the

carpentry business using the same location and personnel as Woodwork.

Despite its efforts, Millwork was unable to land the Turner contract

and Kelly’s carpentry business was forced to close once and for all.

The rest of the story then took place within the bankruptcy court

with all the rules of equity.

                                  II. LEGAL STANDARD

        After the jury has returned a verdict, “the court may set aside

the verdict and enter an acquittal.” FED. R. CRIM. P. 29(c). A

defendant has an “uphill battle” in challenging a jury verdict. A

challenged verdict will be overturned only if no rational trier of

fact could have found beyond a reasonable doubt that the defendants

committed      the    essential    elements   of     the   crime.   See   Jackson    v.

Virginia, 443 U.S. 307, 319 (1979); United States v. Genova, 333

F.3d 750, 757 (7th Cir. 2003) (“Rule 29(c) does not authorize the

judge     to   play    thirteenth     juror.”).      When    considering    a    post-

conviction Rule 29 motion, the court views the evidence in a light

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most favorable to the prosecution. United States v. Warren, 593 F.3d

540 (7th Cir. 2010).

     According to the Seventh Circuit, “after a guilty verdict, a

defendant    seeking    a    judgment     of   acquittal     faces     a    “nearly

insurmountable hurdle” and “successful challenges are relatively

rare.” United States v. Garcia, 919 F.3d 489, 497-98 (7th Cir. 2019);

United   States    v.   Jones,    713   F.3d   336,    339   (7th    Cir.    2013).

Nevertheless, because the government bears the burden of proof, the

Rule 29 standard is not wholly insurmountable. Instead, “the height

of the hurdle depends directly on the strength of the government's

evidence.” Jones, 713 F.3d at 339. If the evidence is insufficient

to sustain the conviction, this Court must grant a motion for

judgment of acquittal. See id. at 339-40.

                                 III. DISCUSSION

     Filer was convicted of two counts of wire fraud. 18 U.S.C.

§ 1343. To convict a person under Section 1343 the Government must

prove that he (1) was involved in a scheme to defraud, (2) had an

intent to defraud, and (3) used the wires in furtherance of the

scheme.” United States v. Weimert, 819 F.3d 351 (7th Cir. 2016).                    To

prove a scheme to defraud the Government must show that the defendant

(here Filer) made a materially false statement, misrepresentation,

or promise, or concealed a material fact. Id.

     The Government describes the “scheme” as follows:



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          The scheme in this case – at its core – was not
     complex. It was about FILER arranging transactions for
     Paul Kelly to: (1) get control of the Harris Bank senior
     loan and accompanying lien, (2) use that lien as a shield
     against his business’s other creditors, and (3) try to
     evade detection. To accomplish these goals, FILER
     facilitated the deception of Harris Bank so that they would
     sell the loan to BWC Capital, a front company for Kelly
     that FILER caused to be created. After the Harris Bank
     loan and lien were transferred to BWC Capital, and after
     a creditor engaged in collection efforts against Barsanti
     Woodwork Corporation, FILER caused fabricated loan
     documents to be created so that he could trick the Cook
     County Circuit Court into entering judgment against
     Barsanti Woodwork Corporation in favor of the newly
     created BWC Capital. With that judgment in hand, FILER
     then caused attorneys working at his direction to take
     steps to strip all assets from Barsanti Woodwork
     Corporation (at least on paper, to the “outside world”) so
     that the assets would not be subject to the claims of the
     entity’s other creditors and were instead available for
     Kelly to use for his business as it changed to operating
     under a new legal entity FILER caused to be created,
     Barsanti Millwork, which, on paper, Kelly did not “own.”

 (Opp’n at 4–5, Dkt. No. 182.)

     The problem with the Government’s alleged scheme begins with

step one and it’s view that the Harris transaction was the product

of fraud. The Seventh Circuit, however, has held that a lack of

candor, even on the part of one with a fiduciary relationship, should

not be equated with criminal fraud. Weimert, 819 F.3d at 354. In

Weimert, the defendant, president of a corporation negotiated a real

estate transaction on behalf of the company. Id. at 362. When

presenting the proposed transaction to his board, Weimert falsely

stated that the transaction could not be consummated without him

acquiring an interest in the property to be sold. Id. The board was


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concerned about the conflict of interest resulting from Weimert being

on the seller’s side (as president of the seller) and on the buyer’s

side (as the recipient of an ownership interest in the property

purchased). Id. The board waived the conflict and approved the

transaction     based     on    Weimert’s      false       statement    that     his

participation was necessary. Id. The board would not have waived the

conflict and approved the transaction if it had known that Weimert’s

participation was elective. Id. at 362–63.

      The Seventh Circuit held that Weimert’s lack of candor and

breach of fiduciary duty were manifest, nevertheless “sharp and self-

interested” dealings, while perhaps important to “the corporate

boardroom and the civil law” did not amount to criminal wire fraud.

Id. at 370. The Seventh Circuit proceeded to caution trial courts

not   to   criminalize   mere    deception    about    a    party’s    negotiating

position.     Id.   Negotiating     parties     are    normally    sophisticated

businessmen and do not expect complete candor. Id. Stated another

way, cases distinguish schemes that do no more than cause victims to

enter    transactions    they   would   otherwise      avoid.   These    types      of

situations do not violate the wire fraud statute. Schemes that depend

on a misrepresentation of an essential element of the transaction

for their completion do violate the statute. U.S. v. Shellef, 507

F.3d 82, 108 (2d Cir. 2007).

        In this case, Filer’s actions were similar to those of Weimert.

Filer knew that Harris would not negotiate with Kelly because of its

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policy of not negotiating with a bank debtor. So, he (and Gereg and

Kelly) created a new entity, Capital, to consummate the purchase. At

the time Harris knew the extent of Woodwork’s assets including the

company’s     receivables.     Indeed,     Harris     undervalued      Woodwork’s

receivables    because    it   believed     that    their   recovery    would       be

difficult,    if   not   impossible,     without    Kelly’s    cooperation.         As

Sullivan testified, Harris obviously wanted to receive as much as it

could from the sale of the loan. Their recovery would therefore be

greater with Kelly’s cooperation.

     Sullivan and Harris knew that the transaction was funded by

Woodwork’s receivables. The agreement specified that Harris would

accept checks payable to Woodwork and, in fact, Harris received over

99% of the purchase price in customer checks (with the miniscule

balance paid by Kelly himself from a personal checking account).

Harris also knew Gereg was trying to negotiate for the purchase of

the Harris loan and lien to avoid Woodwork’s liquidation. This would

allow Woodwork to resume the carpentry business with the company’s

remaining assets. Indeed the Parties agree that Gereg was viewed as

a “friendly creditor” who would work with Woodwork to rehabilitate

the business. Gereg, however, had no experience with carpentry and

Kelly remained the owner of Woodwork. Harris therefore had to know

Kelly would be involved in the business resumption. Gereg’s failure

explicitly to state that Kelly’s involvement could also include an

interest in Capital going forward is not different from Weimert’s

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deception that his participation was necessary for the transaction

to    occur. In       both    scenarios,    the     continued    involvement   of   the

interested party was readily apparent, even if the circumstances

surrounding that involvement were not fully disclosed. For these

reasons, step one of the alleged scheme was not fraud.

        The    next    step    of   the    alleged     scheme,    according    to   the

Government, was Capital enforcing its lien on Woodwork’s assets. The

Government contends that enforcement of the lien was part of a scheme

to defraud because Filer, Gereg, and Kelly fraudulently induced

Harris to accept the settlement agreement and convey the loan and

lien to Capital. Because the transaction between Harris and Capital

was based on fraud, the loan documents were void as a matter of law,

therefore Capital did not hold a valid lien on Woodwork’s assets,

and Filer knew the lien was invalid when he pursued its enforcement

in state court.

        This theory, however, fails as a matter of law. Fraud in the

inducement is a defense that renders a contract voidable at the

election of the injured party and not void ab initio. Cannon v.

Burge, 752 F.3d 1079, 1092–93 (7th Cir. 2014). If Harris felt

aggrieved perhaps it could have had the agreement with Capital voided

but it did not and has not done so. Because the lien had not been

voided at the time Capital’s judgment was obtained, Capital was

indeed the valid lienholder. It follows that there was nothing

illegal       about   Woodwork      and   Capital    agreeing    to   amend   the   loan

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agreement and provide for a confession of judgment in return for a

loan extension, and there was nothing illegal in utilizing statutory

procedures provided by Illinois law to obtain post judgment relief.

     The Government also contends that the lien was void because, in

its view, Kelly controlled Capital in addition to owning Woodwork.

Therefore, according to the Government, when Capital purchased the

lien the debtor and the lienholder were one in the same. At that

time the debt was extinguished and the lien no longer existed and

thus was unenforceable. However, this position requires that the

separate corporate structures of Capital and Woodwork be ignored.

There is no question that Capital and Woodwork are separate entities

created under state laws. While there are civil law procedures “to

pierce the corporate veil” there was no testimony that this was

accomplished (at least prior to the bankruptcy).

     The   Court    is    aware    that    “piercing,”     or   disregarding        a

corporation’s separate existence, is one mechanism under Illinois

law to avoid obstacles to the protection of private or public rights.

See Fitzgerald v. Pratt, 585 N.E.2d 1222, 1226 (Ill. App. Ct. 1992).

There is, however, a presumption of corporate regularity. Gass v.

Anna Hospital Corporation, 911 N.E.2d 1084, 1091 (Ill. App. Ct.

2016).   Illinois    courts   do   not    disregard    corporate    separateness

without a substantial showing of a unity of interest that separate

corporate existence would promote a fraud. Id. Moreover, the one

seeking to pierce the corporate veil, here the Government, has the

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burden of proof. Id. This is a job for the civil law, such as a

bankruptcy court. The Court is unaware of any federal fraud cases,

and the Government has cited none, that based a criminal fraud

conviction on piercing a corporate veil. For these reasons, the Court

concludes   that    Capital      held   a    valid,   enforceable   lien    against

Woodwork. Enforcement of such a lien cannot, therefore, serve as the

basis for a criminal conviction.

       The final steps in the Government’s alleged scheme were the

creation of Millwork and the transfer of Woodwork’s (now Capital’s)

assets to Millwork to thwart Woodwork’s creditors. This move was

necessitated      because      the   State   of   Illinois   revoked   Woodwork’s

charter for nonpayment of taxes, and legally Woodwork no longer

existed. Under Illinois civil law these ploys were of questionable

legality and quite probably would have been (and probably were in

the bankruptcy proceeding) set aside as a fraudulent transfer.

Fraudulent transfer, however, is a tort and can lead to civil

liability as      well    as   the   invalidation     of   the   transaction.     The

alternative was for Millwork to go out of business, give up seeking

the Turner contract, and let the creditors fight over the crumbs.

       Filer, Gereg, and Kelly appeared to have had a legitimate

prospect of securing the large Turner contract that possibly could

have saved the carpentry business. The procedures that Filer utilized

were   designed    to    delay   creditors     from   forcing    Woodwork   out     of

business, in order to obtain that contract. In doing so Filer

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suggested and instituted several procedures that are legitimate, but

of course subject to abuse. Lawyers are entitled to take positions

on behalf of clients that are not clearly justified under existing

law. This is how the law is advanced. And where a lawyer adopts a

position that is clearly unjustified the civil law provides remedies

such as awarding costs and attorneys’ fees. In addition, the law of

equity provides remedies for taking away the benefits obtained by

civil fraud, undoing those that are clearly unjustified. Ronan v.

Rittmueller, 434 N.E.2d 38, 43 (Ill. App. Ct. 1982). If an attorney’s

dealings are particularly egregious, courts strike pleadings or

dismiss suits. However, a court should be very wary of criminalizing

vexatious conduct by lawyers who are acting on behalf of their

clients.

     The “crime” for which Filer could be held accountable is that

he took on an apparent hopeless case, without much of a chance of

success, in a metaphorical attempt of making a silk purse out of a

sow’s ear. When Filer found out that Woodwork no longer existed, it

should have been obvious that end of the line had been reached.

However, turning zealous, if misguided, legal representation into

wire fraud is criminalizing civil law. Filer’s intent clearly was to

try to salvage Woodwork’s business, to save jobs, to pay Woodwork’s

vendors,   and   perhaps    earn   a   fee,     if   Woodwork   could   have   been

successfully turned around. There never was any attempt to extract

money from Woodwork’s creditors.

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     The Government contends that Filer attempted to cover up his

illegal activities. But the filing of a bankruptcy petition and

enlisting his law firm’s partners, associates, and employees, belies

any attempt at a coverup. In addition, the use of the internet and

other electronic communications and records leaves an indelible

record of all activities and is not consistent with a cover up.



     The Court realizes that it heard these arguments at the time

Filer moved for judgment of acquittal under Rule 29 and denied them

as to Counts 1 and 2. The Court in so ruling stated that the issue

was “whether the lien is enforceable is a question of fact for the

jury.” This was error. The validity or invalidity of the lien was

not for the jury to decide. Even if so, the issue was whether Filer

knew it was invalid. Under the facts of this case there were four

possibilities:

     (1)   The lien was void for one of the reasons enunciated
           by one of the Government’s experts and Filer believed
           it void.

     (2)   The lien was void for one of the reasons enunciated
           by the Government’s experts and Filer did not believe
           it void.

     (3)   The lien was not void but Filer believed it to be
           void.

     (4)   The lien was not void and Filer did not believe it
           void.

     On the first scenario that could lead to conviction under the

Government’s theory. There was, however, no evidence that Filer

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believed the lien was void. He testified in his own defense that he

did not so believe and there was no evidence otherwise. It is for

this reason that the Filer’s Motion for Judgment of Acquittal is

granted.

     The   case    epitomizes     the   old    saying    “no   good    deed   goes

unpunished.” Filer took on a hopeless task as a favor without

expectation of significant financial reward. He zealously (perhaps

excessively) utilized the procedures provided by law to attempt to

save his client’s business. In doing so, he set himself up, as well

as his law firm, for punishment exacted through civil law in the

bankruptcy court. This is sufficient. He should not be punished by

the criminal law.

                                III. CONCLUSION

     For the reasons stated herein, the Motion for Judgment of

Acquittal (Dkt. No. 179) is granted. The Motion for a New Trial is

denied as moot.

IT IS SO ORDERED.




                                     Harry D. Leinenweber, Judge
                                     United States District Court
Dated: 9/23/2021




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